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                     EXHIBIT 1
                    GFY.com:
             Adult Webmaster Forum

 Cumlouder: a new crazy company in
         the adult industry

                          Excerpted
7/24/2015           Case 2:15-cv-01673-JCM-GWF
                              Cumlouder: a new crazy company in Document
                                                                the adult industry 9-1    Filed 01/06/16
                                                                                   - GoFuckYourself.com           PageForum
                                                                                                        - Adult Webmaster 2 of 10




                 Welcome to the GoFuckYourself.com ­ Adult Webmaster Forum forums.

                 You are currently viewing our boards as a guest which gives you limited access to view most discussions and access our
                 other features. By joining our free community you will have access to post topics, communicate privately with other
                 members (PM), respond to polls, upload content and access many other special features. Registration is fast, simple and
                 absolutely free so please, join our community today!

                 If you have any problems with the registration process or your account login, please contact us.




                                   Register                                               GFY Rules                                    Calendar

                    GoFuckYourself.com ­ Adult Webmaster Forum > Simply Business > Fucking Around & Program Discussion   User Name User Name       Remember Me?
                       Cumlouder: a new crazy company in the adult industry                                              Password                 Log in

                 Discuss what's fucking going on, and which programs are best and worst. One­time "program" announcements from "established" webmasters
                 are allowed.


                                                                                                                                                   Thread Tools
                   12­03­2012, 07:10 AM

                 borjan                         Cumlouder: a new crazy company in the adult industry
                 Registered User
                                            First of all I would like to introduce myself.

                                            My name is Borjan and I have been working for 11 years as a webmaster in adult industry.

                                            It is our great honour to present on GFY our new product made for webmasters.

                                            We started a production company almost three years ago in Spain called CUMLOUDER in which we wanted to
                                            produce something different and funny porn.

                                            After this time, we have became the most well known brand in the Spanish­speaking business area of this industry.
                 Industry Role:
                 Join Date: Aug 2008
                 Location: Spain            Since one year ago, we have started to shoot our contents in English and we are now ready to launch our
                 Posts: 68                  international version.

                                            You'll find 18 different series on http://www.cumlouder.com :

                                            Members zone examples!




http://m.gfy.com/fucking-around-and-program-discussion/1091492-cumlouder-crazy-company-adult-industry.html                                                        1/20
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                                                                                                        - Adult Webmaster 3 of 10
                 Industry Role:
                 Join Date: Nov 2007
                 Location: Westbahnhof
                 Posts: 15,130




                   12­03­2012, 08:54 PM                                                                                                        #42

                 19teenporn                       So, are you also the owner of serviporno right?(i can see the announcement in your blog),
                 Confirmed User                   site with tons of full videos from all major major content producers of the world.

                                                  I see full videos from reality kings, ztod, brazzers, etc etc etc. All of them are there!

                                                  Also your site videogratistv and the rest have full videos from everyone on GFY!

                                                  This is the reasoning you make in your blog on July 16, 2012(link):

                                                  "Whoever knows some about how the american market works, knows most of porn traffic is
                 Industry Role:                   in tubes.
                 Join Date: Apr 2011              A lot of that traffic has been given to them by us, spaniard webmasters and the rest of the
                 Location: En la reverendisima    countries and have made tubes like xvideos top webs in the world.
                 concha de tu madre!              The traffic is there, will not change, at least for now. We also didn't have brazzers fortune to
                 Posts: 3,034
                                                  buy the tube network they have (pornhub, tube8, pornMD, Spankwire, keezmovies, etc..),
                                                  so we decided to take our stake and make our own tubes..." ( and use everybody else's full
                                                  scenes in our sites)

                                                  So, you own lots of sites with full movies from members in this forum, content producers
                                                  who didn't give you permission to broadcast their scenes in full and you como here as a
                                                  hero to present your program?

                                                  Beware GFY content owners and producers, if you guys hate and complain all the time about
                                                  manwin and Fabian, this guy is much, much worse than him.

                                                  For starters, you can go to serviporno dot com and see thousands of full movies from
                                                  elegant angel, naughty america, brazzers, reality kings, and more and more. Everyone is
                                                  there!
                                                  Last edited by 19teenporn; 12­03­2012 at 09:03 PM..




                   12­03­2012, 10:33 PM                                                                                                        #43

                 Mutt                             LOL!!!
                 Too lazy to set a custom title
                                                  This industry is the best, it's the world's largest clown car.

                                                  Go look at that tube site, full length videos from the biggest programs, their own
                                                  watermarks over the copyright owner's watermark and all the ads are for CumLouder.

                                                  Brazzers LOL! NaughtyAmerica, RealityKings,BangBros, Kink, Suze Randall, Team Skeet
                                                  .......
                 Industry Role:
                 Join Date: Sep 2002              Beating Nathan at his own game .................. methinks not for long.
                 Posts: 34,611                    __________________




                   12­03­2012, 10:56 PM                                                                                                        #44

                 19teenporn                          Quote:
                 Confirmed User
                                                      Originally Posted by Mutt
                                                      LOL!!!

                                                      This industry is the best, it's the world's largest clown car.

                                                      Go look at that tube site, full length videos from the biggest programs, their own
                                                      watermarks over the copyright owner's watermark and all the ads are for
                                                      CumLouder.
                 Industry Role:
                                                      Brazzers LOL! NaughtyAmerica, RealityKings,BangBros, Kink, Suze Randall, Team
                 Join Date: Apr 2011
                 Location: En la reverendisima        Skeet .......

http://m.gfy.com/fucking-around-and-program-discussion/1091492-cumlouder-crazy-company-adult-industry.html                                           16/20
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                 Welcome to the GoFuckYourself.com ­ Adult Webmaster Forum forums.

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                 If you have any problems with the registration process or your account login, please contact us.




                                   Register                                              GFY Rules                                     Calendar

                    GoFuckYourself.com ­ Adult Webmaster Forum > Simply Business > Fucking Around & Program Discussion   User Name User Name       Remember Me?
                       Cumlouder: a new crazy company in the adult industry                                              Password                 Log in

                 Discuss what's fucking going on, and which programs are best and worst. One­time "program" announcements from "established" webmasters
                 are allowed.


                                                                                                                                                   Thread Tools
                   12­04­2012, 12:21 AM                                                                                                                       #51

                 Paul&John                               Quote:
                 Confirmed User
                                                           Originally Posted by Matyko
                                                           Holy shit
                                                           http://www.serviporno.com/ indeed has shitload of illegal over­watermarked
                                                           scenes.


                                                     lol wtf. that's pretty fucked up
                                                     __________________

                                                       Legal homemade content is what STILL
                                                     converts in 2015
                 Industry Role:
                 Join Date: Aug 2005
                 Location: YUROP
                 Posts: 5,169




                   12­04­2012, 12:24 AM                                                                                                                       #52

                 Diomed                              Damn... my weiner is a bit smelly today..
                 Converting like it's 1999
                                                     What's up with that? Anyone else ever get smelly weiner? It's raining smelly weiners.

                                                     Smelly weiners aside, nice program, looks good! Smelly weiner!
                                                     __________________
                                                     CONSULTANCY ­ EVALUATIONS ­ STRATEGY ­ IMPLEMENTATION
                                                     CREATIVES / CONVERSIONS / CHAT SALES / PAID TRAFFIC / MEDIA BUYS
                                                     DIOMEDGFY (a­t) Y A H O O (d­o­t) COM ­ SKYPE: WISEOWLMEDIA




                 Industry Role:
                 Join Date: Jan 2009
                 Location: The South
                 Posts: 3,045




                   12­04­2012, 01:03 AM                                                                                                                       #53

                 V_RocKs                             Big oops...
                 Sooo fucken bannned!!

http://m.gfy.com/fucking-around-and-program-discussion/1091492-cumlouder-crazy-company-adult-industry-2.html?s=43d3e8b46007d3295b2fea33b46b7ed2                     1/16
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                 Industry Role:
                 Join Date: Nov 2003
                 Location: Cowtown, USA
                 Posts: 31,988




                  12­04­2012, 01:25 AM                                                                                                      #54

                 Caldo                       Perfect job guys,look awesome
                 Confirmed User              __________________




                                             www.AlfaContent.com ­ Quality videos with matching photo sets and full 2257 !
                 Join Date: Apr 2007
                 Posts: 2,334                info@alfacontent.com
                                             ICQ# 594092063




                  12­04­2012, 03:05 AM                                                                                                      #55

                 borjan                      Hi Guys, about serviporno
                 Registered User
                                             Our biggest traffic is from these countries: Bolivia, Colombia, Ecuador, Peru, Paraguay,
                                             Chile, El Salvador, Republica Dominicana.

                                             Is not an excuse, it's true, as you can see in Alexa

                                             It is really strange but since we created Cumlouder we've always had hundreds of videos
                                             on all the tubes. Right now, XVIDEOS has a lot of our complete videos, and it's the biggest
                                             tube in the world.

                 Industry Role:              We know we are serving complete vídeos, and we know not doing damage any producer.
                 Join Date: Aug 2008
                 Location: Spain             How Serviporno works
                 Posts: 68
                                             It takes videos from other tubes and replicate them.
                                             All the SERVIPORNO videos are automatically downloaded from other tubes …
                                             You can see exactely the same videos on other tubes , even with the watermarks that
                                             other tubes demand.

                                             There is a DMCA for erasing any video, just like on any other tube

                                             Of course, we don't have any problem with improving everything that isn't well done and I
                                             totally accept any constructive criticism, even destructive criticism.

                                             Serviporno is a test tube for spanish traffic (we are losing a lot of money with it), if you
                                             want kill us for that, sorry guys, I accept your critical.
                                             __________________
                                             Borja Mera
                                             www.wamcash.com
                                             www.cumlouder.com


                                             mail to: borjan@cumlouder.com
                                             Skype: borjancito
                                             Making porn sites during ten years




                  12­04­2012, 03:07 AM                                                                                                      #56

                 borjan                         Quote:
                 Registered User
                                                 Originally Posted by Icy
                                                 Top content and production, top program owner and a great friend for over 10
                                                 years, when we both started in the adult industry.

                                                 Wamcash has been the best VOD sponsor program in Spanish language for a few
                                                 years already, now that they have officially gone international after internal
                                                 testing, i'm sure they will do as good or even better.

                                                 Ricky is a nice guy and a top notch affiliate manager, webmasters will be in good
                                                 hands.
                 Industry Role:
                 Join Date: Aug 2008
                 Location: Spain                 Big congrats on the international launch Borja & the whole wamcash team, you are
                 Posts: 68                       one of the most profesional guys i have known in the industry, this proves that
                                                 hard work pays off, wish you the best!


                                             Thank you very much Ivan!

http://m.gfy.com/fucking-around-and-program-discussion/1091492-cumlouder-crazy-company-adult-industry-2.html?s=43d3e8b46007d3295b2fea33b46b7ed2   2/16
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                                                                                                                      Webmaster of 10
                                                  Hard work is the only way.
                                                  __________________
                                                  Borja Mera
                                                  www.wamcash.com
                                                  www.cumlouder.com


                                                  mail to: borjan@cumlouder.com
                                                  Skype: borjancito
                                                  Making porn sites during ten years




                   12­04­2012, 03:08 AM                                                                                                     #57

                 borjan                             Quote:
                 Registered User
                                                     Originally Posted by xanadu
                                                     couldnt been said better

                                                     Solid program long time now and really amazing content.

                                                     I know Borjan many years now, since he was a webmaster and I have heard only
                                                     good words from the spanish webmasters since he launched Cumlouder.

                                                     All the best to your international adventure guys, I am sure you gonna rock it!
                 Industry Role:
                 Join Date: Aug 2008
                                                  Panos, thank you very much, see you soon in Las Vegas!
                 Location: Spain
                 Posts: 68                        __________________
                                                  Borja Mera
                                                  www.wamcash.com
                                                  www.cumlouder.com


                                                  mail to: borjan@cumlouder.com
                                                  Skype: borjancito
                                                  Making porn sites during ten years




                   12­04­2012, 03:09 AM                                                                                                     #58

                 AdultKing                          Quote:
                 Ministry of Silly Walks
                                                     Originally Posted by borjan

                                                     It is really strange but since we created Cumlouder we've always had hundreds of
                                                     videos on all the tubes. Right now, XVIDEOS has a lot of our complete videos, and
                                                     it's the biggest tube in the world.

                                                     We know we are serving complete vídeos, and we know not doing damage any
                                                     producer.

                 Industry Role:                      How Serviporno works
                 Join Date: Jun 2003
                 Location: Melbourne, Australia
                 Posts: 12,022                       It takes videos from other tubes and replicate them.
                                                     All the SERVIPORNO videos are automatically downloaded from other tubes …


                                                  If you don't have a license for the content, own the content or have user uploaded content
                                                  covered by a takedown policy then you shouldn't have it on your site.
                                                  __________________

                                                         Get Your Free Porn Blog Today ­ Use Invitation Code: GFY01032015




                   12­04­2012, 03:17 AM                                                                                                     #59

                 borjan                             Quote:
                 Registered User
                                                     Originally Posted by AdultKing
                                                     If you don't have a license for the content, own the content or have user uploaded
                                                     content covered by a takedown policy then you shouldn't have it on your site.


                                                  Hi AdultKing, we know it, is the way we choose to open and test tube hosting the videos
                                                  on spanish traffic, using the videos from other (legal) tubes.

                                                  We know also we know not doing damage any producer NOW and we have DMCA.

                 Industry Role:                   Also we are now working on the content partner program, in contact with other
                 Join Date: Aug 2008              companies!
                 Location: Spain

http://m.gfy.com/fucking-around-and-program-discussion/1091492-cumlouder-crazy-company-adult-industry-2.html?s=43d3e8b46007d3295b2fea33b46b7ed2   3/16
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                 Posts: 68
                                                 This is a big and old discussion, a lot of our complete videos was serving now in a lot of big
                                                 tubes.
                                                 __________________
                                                 Borja Mera
                                                 www.wamcash.com
                                                 www.cumlouder.com


                                                 mail to: borjan@cumlouder.com
                                                 Skype: borjancito
                                                 Making porn sites during ten years




                  12­04­2012, 03:19 AM                                                                                                          #60

                 borjan                             Quote:
                 Registered User
                                                     Originally Posted by Exoclick
                                                     Well done Borjan. And good luck on the launch! I'm sure it will be a big hit ;)


                                                 Benja, thanks a lot!
                                                 __________________
                                                 Borja Mera
                                                 www.wamcash.com
                                                 www.cumlouder.com

                 Industry Role:
                 Join Date: Aug 2008             mail to: borjan@cumlouder.com
                 Location: Spain
                 Posts: 68
                                                 Skype: borjancito
                                                 Making porn sites during ten years




                  12­04­2012, 03:20 AM                                                                                                          #61

                 Adraco                             Quote:
                 Confirmed User
                                                     Originally Posted by borjan
                                                     Hi Guys, about serviporno

                                                     Our biggest traffic is from these countries: Bolivia, Colombia, Ecuador, Peru,
                                                     Paraguay, Chile, El Salvador, Republica Dominicana.

                                                     Is not an excuse, it's true, as you can see in Alexa
                 Industry Role:
                 Join Date: May 2009                 It is really strange but since we created Cumlouder we've always had hundreds of
                 Location: Onboard an airplane       videos on all the tubes. Right now, XVIDEOS has a lot of our complete videos, and
                 around the globe                    it's the biggest tube in the world.
                 Posts: 2,498
                                                     We know we are serving complete vídeos, and we know not doing damage any
                                                     producer.

                                                     How Serviporno works

                                                     It takes videos from other tubes and replicate them.
                                                     All the SERVIPORNO videos are automatically downloaded from other tubes …
                                                     You can see exactely the same videos on other tubes , even with the watermarks
                                                     that other tubes demand.

                                                     There is a DMCA for erasing any video, just like on any other tube

                                                     Of course, we don't have any problem with improving everything that isn't well
                                                     done and I totally accept any constructive criticism, even destructive criticism.

                                                     Serviporno is a test tube for spanish traffic (we are losing a lot of money with it), if
                                                     you want kill us for that, sorry guys, I accept your critical.


                                                    Quote:

                                                     Originally Posted by AdultKing
                                                     If you don't have a license for the content, own the content or have user uploaded
                                                     content covered by a takedown policy then you shouldn't have it on your site.


                                                 Since you admit to uploading/creating the videos by yourself, ie not "user uploaded" by
                                                 definition, I think you are not covered by the DMCA rules. On the other hand, depending
                                                 on where your server is hosted, or your company is formed, you might not be affected by
                                                 it anyway. Since DMCA is an American set of rules and regulations, if you are not hosting
                                                 there or have your company there, you wouldn't be bound by it anyway, but instead have
                                                 your own country's copyright laws to abide by.
                                                 __________________
                                                 ­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­­
http://m.gfy.com/fucking-around-and-program-discussion/1091492-cumlouder-crazy-company-adult-industry-2.html?s=43d3e8b46007d3295b2fea33b46b7ed2       4/16
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                                              The truth is not affected by the beliefs, or doubts, of the majority.
                                              Proudly hosted for years @ AmeriNoc ­ Without them, I simply wouldn't be in
                                              business.




                   12­04­2012, 03:21 AM                                                                                                 #62

                 borjan                          Quote:
                 Registered User
                                                  Originally Posted by robwod
                                                  Ricky and Borjan are extremely good people to work with. Well done guys. Looking
                                                  forward to a long business relationship with you.


                                              Robwod, ready to work with you.

                                              Thank you very much!
                                              __________________
                                              Borja Mera
                 Industry Role:               www.wamcash.com
                 Join Date: Aug 2008
                                              www.cumlouder.com
                 Location: Spain
                 Posts: 68

                                              mail to: borjan@cumlouder.com
                                              Skype: borjancito
                                              Making porn sites during ten years




                   12­04­2012, 03:24 AM                                                                                                 #63

                 L­Pink                       So you are just another thieving cocksucker profiting off of the work and property of
                 working on my tan            others?




                 Industry Role:
                 Join Date: Mar 2005
                 Location: Florida/Kentucky
                 Posts: 36,520




                   12­04­2012, 03:27 AM                                                                                                 #64

                 borjan                          Quote:
                 Registered User
                                                  Originally Posted by Adraco
                                                  Since you admit to uploading/creating the videos by yourself, ie not "user
                                                  uploaded" by definition, I think you are not covered by the DMCA rules. On the
                                                  other hand, depending on where your server is hosted, or your company is
                                                  formed, you might not be affected by it anyway. Since DMCA is an American set of
                                                  rules and regulations, if you are not hosting there or have your company there,
                                                  you wouldn't be bound by it anyway, but instead have your own country's
                                                  copyright laws to abide by.


                 Industry Role:               Thanks for your words Adraco, I appreciate it.
                 Join Date: Aug 2008
                 Location: Spain
                 Posts: 68
                                              We are working rigth now in all the posible problems about this website, and fixing it.

                                              On the other hand, insist, we know not doing damage any producer.
                                              __________________
                                              Borja Mera
                                              www.wamcash.com
                                              www.cumlouder.com


                                              mail to: borjan@cumlouder.com
                                              Skype: borjancito
                                              Making porn sites during ten years




                   12­04­2012, 03:29 AM                                                                                                 #65

                 borjan                          Quote:
                 Registered User
                                                  Originally Posted by Nelzon
http://m.gfy.com/fucking-around-and-program-discussion/1091492-cumlouder-crazy-company-adult-industry-2.html?s=43d3e8b46007d3295b2fea33b46b7ed2   5/16
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                                                     This are great guys for sure and their stuff of high quality! I love it! It's nice to
                                                     have them as business partners too!
                                                     Love to see all those nice Latina girls getting rammed hard! ;)

                                                     Muy bueno!

                                                     And my inside joke: Forza Juve!!!


                 Industry Role:                  Thanks Nelzon!
                 Join Date: Aug 2008             __________________
                 Location: Spain
                 Posts: 68
                                                 Borja Mera
                                                 www.wamcash.com
                                                 www.cumlouder.com


                                                 mail to: borjan@cumlouder.com
                                                 Skype: borjancito
                                                 Making porn sites during ten years




                   12­04­2012, 03:30 AM                                                                                                      #66

                 borjan                             Quote:
                 Registered User
                                                     Originally Posted by Matyko
                                                     Heyhey, we love you and your content. Sex and Thrones is hilarious!!


                                                 Thanks Matyko, waiting to work with you!
                                                 __________________
                                                 Borja Mera
                                                 www.wamcash.com
                                                 www.cumlouder.com
                 Industry Role:
                 Join Date: Aug 2008
                 Location: Spain                 mail to: borjan@cumlouder.com
                 Posts: 68                       Skype: borjancito
                                                 Making porn sites during ten years




                   12­04­2012, 03:31 AM                                                                                                      #67

                 borjan                             Quote:
                 Registered User
                                                     Originally Posted by Roald
                                                     Started sending more traffic to the English site and ratios are top notch. Good
                                                     content and great guys to work with.

                                                     Highly recommended for your Spanish AND English traffic.


                                                 Roald, you are welcome like always.
                                                 __________________
                                                 Borja Mera
                 Industry Role:                  www.wamcash.com
                 Join Date: Aug 2008             www.cumlouder.com
                 Location: Spain
                 Posts: 68

                                                 mail to: borjan@cumlouder.com
                                                 Skype: borjancito
                                                 Making porn sites during ten years




                   12­04­2012, 03:33 AM                                                                                                      #68

                 19teenporn                         Quote:
                 Confirmed User
                                                     Originally Posted by L­Pink
                                                     So you are just another thieving cocksucker profiting off of the work and property
                                                     of others?


                                                 Yes, he is.

                                                 But hey, his traffic is from south ammerica, it doesn't matter he uses other people's work
                                                 to make money, as he puts a link to his own program under other people's videos.
                 Industry Role:
                 Join Date: Apr 2011             And he still doesn't care. He gives his ridiculous excuses and keeps answering to his
                 Location: En la reverendisima
                 concha de tu madre!
                                                 friends in this thread and talking about keep working and making business.
                 Posts: 3,034
                                                 This has to be a joke.

http://m.gfy.com/fucking-around-and-program-discussion/1091492-cumlouder-crazy-company-adult-industry-2.html?s=43d3e8b46007d3295b2fea33b46b7ed2    6/16
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                                                                                                                    Webmaster of 10
                                                 It has to be a joke this thief is not banned yet and forever from here!
                                                 Last edited by 19teenporn; 12­04­2012 at 03:34 AM..




                   12­04­2012, 03:34 AM                                                                                                       #69

                 diesel                          How do you know that you dont make any damage to our company by showing our full
                 Confirmed User                  scenes with your logo on it and some dating site in our scene?
                 Join Date: Jan 2001
                 Location: Amsterdam             http://www.serviporno.com/videos/sol...erme­cachonda/
                 Posts: 1,148
                                                 I have lots of disgust for production companies who abuse content of other studios. You
                                                 know exactly how much efforts it takes to produce a scene and you still join the piracy
                                                 path.




                   12­04­2012, 03:37 AM                                                                                                       #70

                 19teenporn                         Quote:
                 Confirmed User
                                                     Originally Posted by diesel
                                                     How do you know that you dont make any damage to our company by showing our
                                                     full scenes with your logo on it and some dating site in our scene?

                                                     http://www.serviporno.com/videos/sol...erme­cachonda/

                                                     I have lots of disgust for production companies who abuse content of other
                                                     studios. You know exactly how much efforts it takes to produce a scene and you
                                                     still join the piracy path.
                 Industry Role:
                 Join Date: Apr 2011
                 Location: En la reverendisima
                 concha de tu madre!
                                                 Not just his logo, but a join link to his program under your full video!
                 Posts: 3,034
                                                 But hey, Roald supports and recommends him.

                                                 The guy is untouchable!




                   12­04­2012, 03:37 AM                                                                                                       #71

                 Three.Thousand                  great, does this mean we are all welcome to take all the full length cumlouder scenes and
                 Confirmed User                  put them on our own sites? I could always do with some good filler content, or even open
                                                 a tube and get some cam sales....

                                                 yes? no?




                 Industry Role:
                 Join Date: Apr 2012
                 Location: UK
                 Posts: 287




                   12­04­2012, 03:45 AM                                                                                                       #72

                 EriktheRabbit                      Quote:
                 So Fucking Banned
                                                     Originally Posted by Three.Thousand
                 Industry Role:                      great, does this mean we are all welcome to take all the full length cumlouder
                 Join Date: Jun 2012
                                                     scenes and put them on our own sites? I could always do with some good filler
                 Posts: 423
                                                     content, or even open a tube and get some cam sales....

                                                     yes? no?


                                                 I think its fine. Just dont send to south america and caribe. You might hurt his sales. On
                                                 second thought he claims does not hurt any sales. I think I have to sign up and start a
                                                 spanish site.

                                                 Last edited by EriktheRabbit; 12­04­2012 at 03:46 AM..




                   12­04­2012, 03:51 AM                                                                                                       #73

http://m.gfy.com/fucking-around-and-program-discussion/1091492-cumlouder-crazy-company-adult-industry-2.html?s=43d3e8b46007d3295b2fea33b46b7ed2     7/16
